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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                              Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases                 Judge M. Casey Rodgers
                                                    Magistrate Judge Hope T. Cannon


                       CASE MANAGEMENT ORDER NO. 63
                            (Amendment to CMO 62)

        To effectuate the parties’ intent with respect to the Settlement, this Order

amends Case Management Order No. 62, ECF No. 3827, to expand the category of

Minnesota cases that may be added to the Administrative Docket between now and

October 2, 2023.

       1.      All cases that were filed and/or served in accordance with Minnesota

law on or before August 29, 2023 (“Minnesota case(s)”) may be added to the

Administrative Docket in the MDL between now and October 2, 2023, even if not

removed and transferred by the JPML.1 This includes cases dismissed without


       1
          Under Minnesota law, a party may commence a civil action simply by serving a summons
and complaint on the defendant, without first filing the complaint with a court. See Minn. R. Civ.
P. 3.01 (2020); see also Gams v. Houghton, 884 N.W.2d 611, 614 (Minn. 2016). Unless the parties
stipulate otherwise, a non-family action commenced in this manner must be filed with a court
within one year of its commencement or it is deemed dismissed with prejudice. See Minn. R. Civ.
P. 5.04; see also MCHS Red Wing v. Converse, 961 N.W.2d 780, 783 (Minn. Ct. App. 2021). This
so-called pocket service “is a long-standing Minnesota practice,” Gams, 884 N.W.2d at 614, that
“facilitate[s] informal dispute resolution before a case is filed,” “allow[ing] litigation to be
resolved without taking up court resources,” MCHS Red Wing, 961 N.W.2d at 784-85.
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prejudice in Minnesota court between those dates. This Order does not apply to

cases filed and/or served in Minnesota after August 29, 2023.

      2.      MDL Centrality. Consistent with Pretrial Order No. 15, ECF No. 630,

every individual who will be added to the Administrative Docket pursuant to this

Order must, by counsel or pro se, establish a secure online portal in the MDL

Centrality online system and obtain usernames, secure login passwords, and

authorized email service address(es) to permit use of MDL Centrality by counsel or

the plaintiff. See id. at 1. Failure to comply with this directive will result in dismissal

with prejudice.

      3.      To add a qualifying Minnesota case to the Administrative Docket, a

plaintiff must submit an individual Short Form Complaint via MDL Centrality in

accordance with the submission procedures previously established by BrownGreer

PLC. See ECF No. 898 at 4. All Short Form Complaints submitted pursuant to this

paragraph must identify the Minnesota action on which the plaintiff was originally

named, its civil action number, and its original filing date. BrownGreer PLC will

transmit all such Short Form Complaints to the Clerk’s Office. For each Short Form

Complaint received, the Clerk’s Office will create an individual case, assign it a case

number, and associate the case with the Administrative Docket.

       4.     No multi-plaintiff actions may be added to the Administrative Docket

in connection with this Order. Only cases transferred in by the JPML may be filed
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on the Administrative Docket as multi-plaintiff actions. For cases filed (and later

dismissed without prejudice) and/or served as multi-plaintiff actions in Minnesota,

each individual plaintiff named on the original complaint in Minnesota must submit

a separate Short Form Complaint via MDL Centrality.

      5.     For Short Form Complaints timely filed pursuant to this Order, the

filing date for the complaint will relate back to the filing or service date of the

original Minnesota case in which the individual plaintiff was originally named.

      6.     Any Eligible Claimant who is added to the Administrative Docket in

accordance with this Order must fully comply with the requirements of the MSA and

the orders of this Court, including fulfilling the obligations set forth in the

Identification Order and the Settlement Implementation Order. Any such Eligible

Claimant who elects not to settle his/her claims must transition from the

Administrative Docket to the Active Docket according to the deadlines and

procedures set forth in Case Management Order No. 57 (“CMO 57”). The cases of

Eligible Claimants who elect not to settle but fail to timely transition to the Active

Docket and/or fail to fully comply with CMO 57 will be dismissed with prejudice.

      SO ORDERED, on this 1st day of September, 2023.


                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE
